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Mike Pence on Rep. Lewis' comments, US-Russia
relation; Brennan on Russia dossier, global hotspots
facing Trump
By,
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This is a lush transcript frnm Tax News Sunday," January 15, 2017. This copy may not he in its ftnal form and
may be updated.
CHRIS WALLACE, FOX NEWS ANCHOR: Fm Chris Wallace
Inauguration week is berm As President-elect Tramp deals with an unverified dossier linking him to the
Kremlin.
(BEGIN VIDEOTAPE)
DONALD TRUMP, R-PRESIDENT-ELECT: Ithink it's a disgrace, and that's something that Germany would
have done and did do.
WALLACE: We'll discuss Mr. Trump's testy relationship with the intelligence community when we sit down
with Vice President-elect Mike Pence just five days before he is sworn into office.
And well find out why the nation's spy chiefs briefed Mr. Trump on the Russian rumors in an exclusive
interview with CIA Director John Brennan. We'll also ask him about the hot spots the Trump team faces, from
ISIS to China. John Brennan, only on Tom News Sunday".
Plus, the politics of why Hillary Clinton didn't win the election are still playing out.
REP. NANCY PELOSI, D-CALL, HOUSE MINORITY LEADER: The American people are owed the truth.
WALLACE: Well ask our Sunday panel about the Jusdee Department Spector general investigating FBI
Director James Comey for possible misconduct
And our power player of the week, the head of the presidential inaugural canurdttee on pulling off this week's
big event.
TOM BARRACK, HEAD OF PRESIDENTIAL INAUGURAL COMMITTEE: It's quite (INAUDIBLE)
putting on the Olympics in 60 days.
WALLACE: All, right now, an "Fox News Stmday.
(END VIDEOTAPE)
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WALLACE: And hello again from Fox News in Washington.

Donald Trump takes the oath of office in just five days, but on the brink of his presidency, questions about
Russia's involvement in the election won't go away. Today, we want to discuss that and of the agenda with the
man who will be sworn in next Friday as vice president.

We are honored to be joined here in studio by Mike Pence.

Mr. Vice President-elect, welcome back to his "Fox News Sunday"."

MIKE PENCE, VICE PRESIDENT-ELECT: Thanks, Chris. It's good to be here. It's an exciting week.

WALLACE: Democratic Congressman John Lewis, one of the icons of the civil rights movements, says that he
is not going to attend the inauguration, and he has explained why. Here he is.

(BEGIN VIDEO CLIP)

REP. JOHN LEWIS, D-GEORGIA: I don't see this president-elect as a legitimate president.

(END VIDEO CLIP)

WALLACE: What's your reaction to Congressman Lewis?

PENCE: Donald Trump won this election fair and square, thirty of 50 states, more counties than any Republican
since Ronald Reagan, and the American people know that. And, while I have great respect for John Lewis, and
for his contributions, particularly with the civil rights movement.

I was deeply disappointed to see someone of his stature question the legitimacy of Donald Trump's election as
president and say he's not attending the inauguration, and I hope he reconsiders both positions. You know, we'd
even had recounts in this election where the numbers for the president-elect had actually gone up. There's no
question about the legitimacy of this election, and for John Lewis to make those statements is deeply
disappointing.

This is also -- it's disappointing, too, because I truly do believe this is a time when the American people should
be celebrating the peaceful transition of power. That's what this week is really all about, Chris, and to know that
four living presidents will be on the stage acknowledging that peaceful transition of power, the world will be
watching, will hear the first remarks that Donald will make as president of the United States in his inaugural
address.

I just -- I hope that John Lewis, and some others who have joined his plans to take a pass on the inauguration,
will rethink that, will be with us and will celebrate this extraordinary moment in the life of our nation and the
life of democracy.

WALLACE: I like to ask you as well -- you talked about Lewis' comments about Mr. Trump. But also, I'd also
like to ask about Mr. Trump's comments about Mr. Lewis. I want to put up this tweet, because in response, the
president-elect called John Lewis "all talk, talk, talk, no action."

Can he really say that about the man who got his head cracked open walking across the Pettus Bridge in Selma,
Alabama, on Bloody Sunday, "all talk, no action"?

PENCE: Well --

WALLACE: Do you think that's appropriate?

PENCE: I think -- I think Donald Trump has the right to defend himself. When someone of John Lewis' stature,
someone who is not only an icon in the civil rights movement, but also someone who by virtue of his sacrifice
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on that day that we know as Bloody Sunday, he crossed the Edmund Pettus Bridge and he suffered that abuse
and it was -- it was true that that the voting rights -- for someone to use his stature to use terms like this is not a
legitimate president, it's just -- it's just deeply disappointing to me, and I hope he reconsiders it.

But what Donald Trump was talking about their was literally generations of failed policies coming out of
Washington, D.C., that have failed to many families and too many cities across this country. I will tell you,
Donald Trump is a man who is profoundly impatient with failure. And you saw in the campaign, he went to
major cities in this country and said we are going to bring safety to our streets. We're going to bring school
choice to our children. We're going to bring jobs and opportunities to our cities.

You remember that great line "what the heck do you have to lose?" He's committed to being president of all the
people in this country and to bring new jobs and prosperity in ways that the failed liberal policies of the last
several generations have not.

WALLACE: Let me pick up on another controversy this week, because Mr. Trump has been going after the
intelligence community, especially after they briefed him, and it became a public that they had briefed him both
as unverified oppo research that the Kremlin allegedly put together on him. On Friday, Mr. Trump sent these
tweets, "Probably released by 'intelligence'," intelligence in quotes, "even knowing there is no proof, and never
will be."

Does the president-elect really believe that the intelligence community is trying to undercut him and does he
stand by his comparison of those tactics to Nazi Germany?

PENCE: Well, I think -- and obviously, the briefing that the president-elect and I received a week ago was a
classified briefing and I can't comment on anything that happened there.

WALLACE: Well, the intelligence community has --

PENCE: I never will. But --

WALLACE: They have verified that they did brief him on this oppo research.

PENCE: But the very fact that a few organizations, not this one, trafficked in opposition research and this
salacious garbage I think was deeply troubling to millions of Americans, and from --

WALLACE: What about the intelligence community?

PENCE: -- from whatever the source, and we don't know what the source was that put this into the traffic. I
know that the Director of National Intelligence said that it had been -- this information had been his floating
around for months.

It -- I think the president-elect and I, it was an act of your responsibility by a handful of news organizations to
actually traffic in and pay attention to these materials. And again, I think the American people saw for what it
was, and our focus is going forward. When you see the team that the president-elect has assembled in the course
of this transition, particularly when it comes to national security, in General Mattis and in Senator Dan Coats,
and in Mike Pompeo, you're going to see an effort to reinvigorate our national security, national intelligence, and
the president is going to see to that from day one.

WALLACE: Let's talk about policy going forward, because the president-elect's seemed to suggest in an
interview this weekend with The Wall Street Journal that he might dramatically change relations with Russia,
and in fact lift sanctions against Russia if they begin to cooperate with us on ISIS and other areas. I want to put
a quote from that interview.

Mr. Trump said, "If you get along and if Russia is really helping us, why would anybody have sanctions if
somebody's doing some really great things?"
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How quickly might he end sanctions on Russia?

PENCE: I think -- I think the president-elect has made it very clear that we have a terrible relationship with
Russia right now, and that's not all our own doing, but it really is a failure of American diplomacy in successive
administrations. And what the president-elect is determined to do is explore the possibility of better relations.
 We have a common enemy in ISIS, the ability to work with Russia to confront, hunt down, and destroy ISIS at
its source represents an enormously important priority of this incoming administration.

But I think what the American people like about Donald Trump is he someone who can sit down, roll the sleeves
up, and make a deal. And I think what you're hearing in his reflections, whether it'd be with Russia, whether it'd
be with China, whether it'd be with other countries in the world is that we are going to reengage. We are going
to put America first. We're going to put America's interest first. But we're going to reengage in a way that
advances America's interest in the world and advances peace.

WALLACE: I want to ask you about two very specific questions briefly so we can move on to domestic policy.
We now know that the Trump's national security advisor, Mike Flynn, had several conversations with the
Russian ambassador, Kislyak, just at the time that President Obama was announcing new sanctions to the
hacking of the U.S. election against Russia.

Number one: did Mike Flynn ever discuss lifting sanctions in any of those conversations? Do you know?

PENCE: I talked to General Flynn yesterday, and the conversations that took place at that time were not in any
way related to the new U.S. sanctions against Russia or the expulsion of diplomats.

WALLACE: All right.

Second question: can you flatly deny -- because this continues to be out there -- that there were any contact at
any point in the campaign between Mr. Trump's associates and Russian operatives, including cutouts, as we
know, about the hacking of the Democrats during the election?

PENCE: This -- you know, some of this derives from this opposition research memo, I guess, Chris, that made
its way around the Internet. There was about 24 hours were Michael Cohen, who has worked in the Trump
Organization for many years, was accused for having a meeting in Prague, and fmally, some news organizations
did a little checking and found out that it was a different Michael Cohen. And Michael himself has never
actually been to Prague.

WALLACE: But I do want to ask you a question.

PENCE: He was at a baseball game with his son in August of last year. So --

WALLACE: I understand that. But there's been other talk, and in fact, if I may, senators specifically asked FBI
Director Comey about that. He refused to answer.

So, I'm asking a direct question: was there any contact in any way between Trump or his associates and the
Kremlin or cutouts they had?

PENCE: I joined this campaign in the summer, and I can tell you that all the contact by the Trump campaign
and associates was with the American people. We were fully engaged with taking his message to make America
great again all across this country. That's why he won in a landslide election.

(CROSSTALK)

WALLACE: -- if there were any contacts, sir, I'm just trying to get an answer.

PENCE: Yes. I -- of course not. Why would there be any contacts between the campaign?
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Chris, the -- this is all a distraction, and it's all part of a narrative to delegitimize the election and to question the
legitimacy of this presidency, the American people see right through it.

WALLACE: OK.

PENCE: And truthfully, this is a week -- you know, I just sat on with our transition team in Washington
yesterday, we have -- we've named 20 out of 21 of our candidate officials, probably have all of them named
before we get to inauguration day. The caliber and character of men and women that the president-elect has
assembled, the hundreds and hundreds of interviews and conversations he himself has had, I think should be
deeply inspiring to millions of Americans. And they know when he raises his right hand on that inaugural
platform this coming Friday, that he is going to be ready on day one to keep his promises to the American people
to turn this country around.

(CROSSTALK)

WALLACE: But let me ask you about this. We've got about three minutes and I'm going to ask you three
questions. So, let's try to get them all in, OK?

PENCE: OK.

WALLACE: In a lightning round.

Obamacare.

PENCE: Yes.

WALLACE: The president-elect he wants to see repeal and replace basically at the same time. Here he is in his
press conference.

(BEGIN VIDEO CLIP)

TRUMP: It will be repealed and replaced. It will be essentially simultaneously. It will be various segments,
you understand, but will most likely be on the same day or the same week.

(END VIDEO CLIP)

WALLACE: I don't have to tell you that replacing is a lot more complicated than repealed, especially how do
you pay for some of the provisions of Obamacare you want to keep, like the pre-existing conditions? Can you
really do the really two at the same time, and when will that be? How quickly?

PENCE: The short answer is yes. We can do it at the same time.

WALLACE: Repeal and replace?

PENCE: The president-elect made it very clear to leaders in the Congress this week that he wanted to do both at
the same time. And we're very grateful the House and Senate moved resolutions this week to begin the process
of repealing ObamaCare.

WALLACE: So, realistically, when could you do that, sir?

PENCE: Lifting the enormous burden -- you are seeing an incredible increase in premiums on Americans.
ObamaCare has failed. We are going to repeal it.

But at the same time, we're going to pass the kind of legislation that will lower the cost of health encourage
without growing the size of debt. I would anticipate in the first 100 days that we'll deliver on that promise for
the American people.
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WALLACE: Does Mr. Trump still have confidence in FBI director -- did he ever have confidence in FBI
Director James Comey?

PENCE: Well, you will have to ask him about that. I know it's been the subject of some commentary this week.

But, you know, at the end of the day, I know that whether it's our security at home or abroad, the president-elect
is going to put the safety and security of the American people first in every decision.

WALLACE: You're not willing to give him a vote of confidence at this point?

PENCE: Well, you'd have to ask the president-elect. I know they've had conversations. And that will be a
good question for him after January 20th, Chris.

WALLACE: And finally, one minute left -- central message, central theme that President Trump wants to
advance in his inaugural address, the message he wants to send to the American people?

PENCE: Well, I'll let him speak for himself on Friday. I think the American people will see the same Donald
Trump they saw every day of this campaign step up to that podium. He's going to speak from his mind, he's
going to speak from his heart, and he's going to -- he's going to lay out a vision to make America great again.

And I have to tell you, Chris, when I stand surrounded by my family and take the oath of office as vice president
of the United States, all I will be thinking about is what an honor it is to stand next to a man who I know -- who I
know -- can restore and revive this country, and I'll also just be thinking as the grandson of an Irish immigrant,
what a great country this is.

WALLACE: I should also point out, you're going to be taking the oath of office on the Reagan bible, which I --
and I gather that's the first time it will have been used since Ronald Reagan put his hand on the Bible back in the
'80s. I know how much you revere Ronald Reagan. That's going to be a pretty emotional moment.

PENCE: It will be, and to have the oath of office administered me by Justice Clarence Thomas, someone who I
admire for his philosophy, for his courage on the bench in his 25th year on the Supreme Court.

Again, it's just very humbling for me. We are approaching it with prayer, but with deep, deep gratitude to the
president-elect for his confidence and deep gratitude to the American people who have elected Donald Trump
and elected a man who I know is going to make America great again.

WALLACE: Mr. Vice President-elect, thank you. Thank you for joining us during this very busy time. And it's
always a pleasure to talk with you, sir.

PENCE: Thanks, Chris.

WALLACE: Up next, the outgoing chief of the CIA, John Brennan, on those Russian rumors, Mr. Trump's
relationship with the intel community and the hot spots he'll face around the world.

(COMMERCIAL BREAK)

(COMMERCIAL BREAK)

WALLACE: A look at the inaugural stage in the west front of the capitol where Donald Trump will take the
oath of office on Friday.

Mr. Trump begins his presidency in an extraordinary split with the intelligence community, a split that only
widened after they presented him with unsubstantiated oppo research the Kremlin allegedly compiled, a file that
quickly went public.

Joining me here in Washington for an exclusive exit interview is the outgoing CIA director John Brennan.
